Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 1 of 19 PageID #: 7

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    TRADUCGION PUBLICA            -   PUBLIC TRANSLATION.
     lon the     top tight margin of all pages thare is the sea/ of lhe Labour Courl
    of Original Jurisdiction Number 29, beaing the Argenline Shr'e/d.l       -----
    LETTERS ROGATORY THROUGH DIPLOMATIC EXCHANGE-.-.--..
    GRACIELA LEONOR DUBAL, DEPUW LABOUR,COURT.JUEGE OF
    ORIGINAL JURISDICTION SITTING AT TRIAL COURT NUMBER 29
    OF THE CITY OF BUENOS AIRES, GAPITAL CITY OF                                THE
    ARGENT]NE REPUBLIG; TO THE COMPETENI JUDGE OF SAME
    KIND ON DUTY IN THE GITY OF CHARLOTTE, .I'NITEE ST,ATES 'OF
    AMERICA, HEREBY GREETS, PETITIONS YOII,R HONOUR, AND
    MAKES KNOWN AS FOLLOWS: Whereas, in the National Court of
    Original Jurisdiction Number 29, where I sit as a deputy judge, sole
    Clerk's Office where acting Attorney Maria lsabel Leal Fadel, looated'at
    street Diagonal Norte Roque Saenz Pefia 760, 4th Floor, of the
    Autonomous City of Buenos Aires, Argentino Republic, an action
    entitled "MERCIER DE LACOMBE, GERAUD CHARLES JOSEPH vs.
    AGENCIA FRANCE PRESSE /on dismissal" (court record number
    86286/2016), wherein at the request of Plaintiff, issuance of this
    instrument has been resolved for the purpose of respectfully requesting
    Your Honour to instruct as necessary in order that Bank of America -
    Merril Lynch, domiciled at 100 N, Tryon, St. Charlotte, United States,
    informs whether the copies of the records attached to this                  form
    correspond to the payments of US$ 3000 per month made by transfer
    from Agencia France Presse Uruguay Account No. 0019205547150 to
    account 291 021 81 69.    ---_-_---
    Parties: 1. Plaintiff: Gerard Charles Joseph Mercier de Lacombe (ldentity
    Document 94.396.852), domiciled            at 25   Boulevard Jean Jeaures,
    Boulogne, Billancourt, France.-----------
    2. Defendant: (i) Agencia France Presse, established at Av. De             Mayo
    560,   6rh   floor, Office 48, oI the Autonomous City of Buenos Aires.   -------
    Causo: Dismissal       -----*-------


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Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 2 of 19 PageID #: 8




   Amount claimed: $ 8.957.980 (eight mi ions, nine hundred and                fifty_
   seven thousand nine hundred and eighty argentine pesos)
                                                                   ------___
   Attorneys: 1. Counsels for P,aintiff are Attorneys Juan Manuel Arias
   and/or Gonzalo F. Ferndndez Sasso.
   2. Counsels for the Defendant are Javier Enrique patr6n and Jos6 Marla
   Llano.
   Authorized: Attorneys Juan lvlanuel Arias and/or Gonzalo Ferndndez
   Sasso and/or whodver they designate
   The writ ordering issuance of this letter rogatory reads as follows:
   "Buenos Aires, Septembet 6,2017.... the lefter rogatories requested by
   plaintiff on pages 586/588 be addressed to the Official post Office, the
   National Direction of Migration, MovistarlTelef6nica de Argentina S.A.,
   Fibertel, AFIP, ANSES, Cotegio Mallinckrodt, Casanegra Agency, Estudio
   Egula & Asoc., Societe Air France, Agencia pangea Turismo, Bank of
   America. Merrill Lynch. Let it be notified. (Signed. National Judge),,.--..-
   I DO HEREBY REQUEST AND PET|T|ON YOUR HONOUR to duty futfiil
   this instrument, offering to do the same in similar cases.
   May God preserve your Honour.     ---_-----
   Buenos Aires, on the 17h lhandwritten] day             of the month of     Aprit
   Ihandwritten] of 2018.   ----*-
   lThere is an i egible signature followed by    a   seat readlng: ,Graciela L
   Dubal de Lozano. National    Judge."l---*--
   lThere   is an   illegible signature followed by   a   sea! readlngj [illegible]
   Secretary.

   INEXT PAOEI.
  The undersigned, Secretary Genoral of the National Court of Appeals in
  Labor Matters, of the Federal Capital, Republic of Argentina, certiry that
  the foregoing. signature of Attorney Graciela L. Dubal de Lozano, is
  genuine and similar to the one kept on file in the Office of the Attorney
  General, in her capacity as Deputy Labor Judge of Original Jurisdiction,
  sitting at Trial Court Number 29
Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 3 of 19 PageID #: 9


                                                                                               t
   ln Buenos Aires, on ihe i'd day of the month of May of the year 2018'--
   lThere is an illegible signature followed by a seal
                                                            reading: "Claudio
   Riancho. Assistant Secretary."l
                                                               Labour Court
   [The pages are stapled together with a seal of the National
   of Appeals N'

   [On the leff margin reads: official use]   -------
   l, a duly sworn translator, do hereby certify that, to the best of my
   knowtedge and abilv, fhis is a true translation into English of the
   document in Spanish, which I have had beforo me and attached hereto'
   ln Buenos Aires, on this |th day of the month of May of the year 2018'---
   ES TRADUCCION FIEL al ingl's det documento adiunto redactado en
   idioma espaftol, que he tenido ante mi y al cuat me remito. EN FE DE LO
   CILAL estampo mi firma y setto en Buenos Aires, a los I dias del mes de
   llayo   de 2018

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    Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 4 of 19 PageID #: 10
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                                          EXHORTO
                                        DIPLOMATICO


      GRACIELA LEONOR DUBAL, JUEZ NACIONAL DE PRIMERA INSTANGIA
      DEL TRABAJO INTERINAMENTE A CARGO EN FORMA SUBROGANTE
       DEL JUZGADO NRO, 29 DE LA CIUDAD DE BUENOS AIRES, CAPITAL DE
      LA REPUBLICA ARGENTINA, AL SENOR JUEZ DE IGUAL CLASE                              EN
      TURNO DE LA CIUDAD DE CHARLOfiE, ESTADOS UNIDOS DE NORTE
      AMERICA, SALUDA, EXHoRTA Y HACE SABER: que por ante el Juzgado
      Nacional de Primera lnstancia del Trabajo nro.29,           a mi   cargo en forma
      subrogante , Secretarla tnica a cargo de la Dra. Maria lsabel Leal Fadel, sito en la
      calle Diagonal Node Roque Sdenz Pefla 760, Piso 4o, de la Ciudad Aut6noma
      de Buenos Aires, Rep0blica Argentina, donde tramitan los autos caratulados
      ..MERCIER DE LACOMBE, GERAUD GHARLES JOSEPH C/ AGENCIA

      FRANCE PRESSE s/ Despido"(Expte. 86286/2016), en los cuales la suscripta
      es competente en raz6n de materia y .jurisdicci6n. Se ha dispuesto librar          la
      presente rogatoria a pedido de la parte actora a fin de solicitarle se sirva disponer
      lo necesario a los efectos de que Bank of America     - Ivlerril Lynch, con domicilio
      en 100 N, Tryon, St. Charlotte, Estados Unidos de Norte Am6rica, informe si los
i     registros cuya copias se adjuntan al presente, coinciden con los pagos de las
      sumas de u$s 3.000 mensuales efectuados mediante transferencia desde la
      cuenla de Agence France Presse Uruguay Account nro. 00'19205547150, afavor
      de la cuenta 2910218169.




      Partes: 1.- Actor: Geraud Charles Joseph Mercier de Lacombe DNI
      94.396.852., con domicilio en 25 Boulevard Jean Jeaures, Boulogne
      Billancourt, Francia.
               2. Demandada: Agencia France Presse, con domicilio en la Avda. de
      Mayo 560, piso 60, Oflcina 48, de la Ciudad Aut6noma de Buenos Aires.
      Naturaleza: Despido
      Monto reclamado: $ 8.957.980. (pesos ocho millones novecientos cincuenta y
      siete mil novecientos ochenta)



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Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 5 of 19 PageID #: 11




    Profesionales: 1. Letrados apoderados del actor: Juan lVlanuel Aria dry/o y/o
   Gonzalo F. Fernendez Sesso.
                                                                                             '\t:
                     2. Letrados apoderados de las demandadas: doctores Javier
   Enrique Patr6n y Jose Maria Llano.


   Autorizados: doctores Juan Manuel Arias y/o Gonzalo Ferndndez Sasso y/o
   quien estos designen.


   El auto que ordena el libmmiento del presente exhorto es del siguiente tenor:
   "Buenos Aires, 6 de septiembre de 2017.-...Librense los oficios solicitados por la
   atora a fs. 586/588 dirigidos al Correo Oficial,      a la Direcci6n Nacional             de
   l\iligraciones, a Movistar/ Telef6nica de Argentina S.A., a Fibertel, a la AFIP, a la
   ANSES, al Colegio Mallinckrodt, a la agencia Casanegra, al Estudio Eguia &
   Asoc, a Societe Air France, a la Agencia Pangea Turismo, al Bank of Am6rica.
   Merril Lynch. Notiffquese. (Fdo. Juez Nacional)."




   RUEGO Y EXHORTO A V.E. quiera dar al presente el debido cumplimiento,
   ofreciendo reciprocidad para casos analogos.


   Dios guarde a V.E


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Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 6 of 19 PageID #: 12

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                    El que suscribe, Prosecretario General de la C6mara Nacional de
                    Apelaciones del Trabajo de la Capital Federal de la Replblica Argentina,
                    certifica que la firma que antecede de la Dra. Graciela L. Dubal de Lozano
                    es aut6ntica y coincide con la que figura registrada en la Secretaria General,
                    en su carecter de Juez subrogante del Juzgado de Primera lnstancia del
                    Trabajo N' 29
                                         ... ... Buenos Aires, 3 _de mayo de 201




                                                                Dr. Claudio M. Riancho
                                                                Prosecretario General




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             Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 7 of 19 PageID #: 13

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                        COLEGIO DE TRADUCTORES PUBLICOS
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     Por la presente, et coLEGto DE TRADUCTORES PUBLICOS DE LA ctuDAD DE BUENOS A|RES,
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     en virtud de la facultad que le confiere el articulo 10 inc. d) de la ley 20305, certiflca 0nicamente que
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     Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 8 of 19 PageID #: 14




By virtue of the authority vested in the coLEGlo DE TRADUCTORES PUBLICOS DE LA CIUDAD
DE BUENOS AIBES (Buenos Aires Sworn Translators Association) by Argentine law No. 20 305 section
10(d), I hereby CEBTIFY that the seal and signature aflixed on the attached translation are consistent
with the seal and signature on file in our records.
The Colegio de Traductores Pibticos de la Ciudad de Buenos Aires only certifies that the signature and
seal on the translation are genuine; it will not attest to the contents of the documenl.
THIS CERTIFICATION WILL BE VALID ONLY IF IT BEARS THE PERTINENT CHECK STAMP ON THE
LAST PAGE OF THE ATTACHED TRANSLATION.

vu par te coLEGlo     DE TRADUCTORES PUBLICOS DE LA CIUDAD DE BUENOS AIRES                   (ordre des
Traducteurs Otficiels de la ville de Buenos Aires), en verlu des attributions qui lui ont 6t6 accord6es
par l,article 10, alin6a d) de la Loi n" 20.305, pour la seule l6galisation mat6rielle de la signature et
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ci-ioint, qui sont conlormes d ceux d6pos6s aux archives de cette lnstitution.
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LA LEGALISATION,

il coLEGto DE TRADUCTOHES P0BLICOS DE LA CIUDAD DE BUENoS AIHES (Ordine dei Traduttori
abilitati della Citta di Buenos Aires) CERTIFICA ai sensi dell'articolo 10, lettera d) della legge 20.305
che la firma e il timbro apposti sulla qui unita traduzione sono conformi alla firma e al timbro del
                                                                                                      '
Traduttore abilitato depositati presso questo Ente, Non certifica ll contenuto della traduzione sulla
quale la cefiificazione d apposta.
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Por meio desta legalizagao, o coLEGlo DE THADUCToRES PUBLICOS DE LA CIUDAD DE BUENOS
AIRES (Col6gio dos Tradulores Ptblicos da Cidade de Buenos Aires), no uso de suas atribuiQoes e
em conlormidade com o artigo 10, alinea "d'l da Lei 20.305, somente reconhece a assinatura e o
carimbo do Tradutor P0blico que subscreve a tradugSo em anexo por semelhanga com a assi-
natura e o carimbo arquivados nos registros desta instituigao.
A PRESENTE LEGALTZAQAO SOTERAVALIDADE CO[4 A CORRESPONDENTE CHANCELA MECANICA
APOSTA NA ULTIMA FOLHA DA TRADUQAO,

coLEGlo DETFADUCT0RES PUBLICoS DE LA CIUDAD DE BUENoS AIRES (Kammer der vereidigten
Ubersetzer der Stadt Buenos Aires). Kratt der Belugnisse, die ihr nach Art. 1o Abs. d) von Geseu
20.305 zustehen, bescheinigt die Kammer hiermit lediglich die Ubereinstimmung der Unterschrift
und des Siegelabdruckes aul der beigefUgten Ubersetzung mit der entsprechenden Unterschrift
und dem Siegelabdruck des vereidigten Ubersetzers (Traductor P(blico) in unseren Registern.
DIE VORLIEGENDE OBERSETZUNG IST OHNE DEN ENTSPRECHENDEN GEBUHHENSTEMPEL AUF
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             Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 9 of 19 PageID #: 15

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             Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 13 of 19 PageID #: 19

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 Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 16 of 19 PageID #: 22




Geraud DE LACOMBE

De:                               Philippe IURREL
Envoy6:                          jeudi 18 avriL 2013 12:14
A:                               Geraud DE LACOMBE
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Geraud,

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Amts Philippe


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         Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 17 of 19 PageID #: 23
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Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 18 of 19 PageID #: 24




Geraud DE IACOMBE

De;                                 Philippe TURREL
E   rvoy6:                          vendredi 2 aot( 2013 14s5
&                                   Geraud DE LACOMBE
objet:                              Re Paiemeht loyer G6raud

Cet€geriss!                         glue Cat€qory




G6raud,                   .

Cl-des6ous exFait de notre releve bancaire

Amt6 Philippe



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Phlilppe TURREL
Responsable administrativo y financiero para Am6rica Latina

Tel. +5982 900 50 95 lnt. 285
Fa( +5982 802 25 24

Agence France.Ptes66
Montevideo, Uruguay



Las noticias en su m6vil : yau4{3fuE-Ab jlgAqn,

Ele r GeGud DE LACOMBE
Fnvoy6 : vendredi 2 ao0t 2013 13:14
A : Phlllppe TURREL
ObJet : Palement loyer Gerdud

Hola Philippe,

Tu peux m'envoyer le regu de paiement du loY€r sTP ?

Merci,

Geraud

Geraud de LAcoItiBE
Direclo. Comqcidl y Ma*eting para Am6ica latina
Avenida d6 Mayo 560 Buenos Alreg




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         Case 1:18-mc-00252-CFC Document 2-1 Filed 08/16/18 Page 19 of 19 PageID #: 25


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